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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


IN RE WELLS FARGO & COMPANY
SECURITIES LITIGATION                                 Case No. 1:20-cv-04494-JLR-SN




                               ORDER AWARDING
                    ATTORNEYS’ FEES AND LITIGATION EXPENSES

        This matter came on for hearing on September 8, 2023 (the “Settlement Hearing”) on Lead

Counsel’s motion for attorneys’ fees and Litigation Expenses. The Court having considered all

matters submitted to it at the Settlement Hearing and otherwise; it appearing that: (i) the Notice of

the Settlement Hearing was mailed to all Settlement Class Members who or which could be

identified with reasonable effort substantially in the form approved by the Court and (ii) a summary

notice of the hearing substantially in the form approved by the Court was published in The Wall

Street Journal and Investor’s Business Daily and released over PR Newswire pursuant to the

specifications of the Court; and the Court having considered and determined the fairness

and reasonableness of the award of attorneys’ fees and Litigation Expenses requested; and, for

the reasons set forth more fully at the Settlement Hearing,

        NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

        1.      This Order incorporates by reference the definitions in the Stipulation and

Agreement of Settlement dated May 8, 2023 (ECF No. 178-1), and as amended on August 31,

2023 (the “Stipulation”) and all terms not otherwise defined herein shall have the same meanings

as set forth in the Stipulation.

        2.      The Court has jurisdiction to enter this Order and over the subject matter of the

Action and all parties to the Action, including all Settlement Class Members.
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        3.      Notice of Lead Counsel’s motion for attorneys’ fees and Litigation Expenses was

given to all Settlement Class Members who could be identified with reasonable effort. The form

and method of notifying the Settlement Class of the motion for attorneys’ fees and expenses

satisfied the requirements of Rule 23 of the Federal Rules of Civil Procedure, the Private Securities

Litigation Reform Act of 1995, 15 U.S.C. § 78u-4(a)(7), and due process; constituted the best

notice practicable under the circumstances; and constituted due and sufficient notice to all persons

and entities entitled thereto.

        4.      Plaintiffs’ Counsel are hereby awarded attorneys’ fees in the amount of 18% of the

Settlement Fund, net of Litigation Expenses awarded, plus interest earned at the same rate as the

Settlement Fund. Plaintiffs’ Counsel are also hereby awarded $1,130,909.85 for payment of their

litigation expenses. These attorneys’ fees and expenses shall be paid from the Settlement Fund

and the Court finds these sums to be fair and reasonable. Lead Counsel shall allocate the attorneys’

fees awarded among Plaintiffs’ Counsel in a manner in which they, in good faith, believe reflects

the contributions of such counsel to the institution, prosecution, and settlement of the Action.

        5.      In making this award of attorneys’ fees and payment of litigation expenses from

the Settlement Fund, the Court has considered and found that:

                a.      The Settlement has created a fund of $1,000,000,000 in cash that has been

        funded into escrow pursuant to the terms of the Stipulation, and that numerous Settlement

        Class Members who submit acceptable Claim Forms will benefit from the Settlement that

        occurred because of the efforts of Plaintiffs’ Counsel;

                b.      The requested fee has been reviewed and approved as reasonable by all four

        Lead Plaintiffs, institutional investors that actively supervised the Action, and is below the




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       fee permitted under the most restrictive of the retention agreements entered into between

       Lead Plaintiffs and Lead Counsel at the outset of the litigation;

               c.      Copies of the Notice were mailed to over 1,835,000 potential Settlement

       Class Members and nominees stating that Lead Counsel would apply for attorneys’ fees in

       an amount not to exceed 19% of the Settlement Fund and payment of Litigation Expenses

       in an amount not to exceed $2,000,000. Three objections to the requested award of

       attorneys’ fees were submitted (by Patricia A. White, Larry D. Killion, and Charles Aaron

       McIntyre), and each of these objections are overruled;

               d.      Lead Counsel conducted the litigation and achieved the Settlement with

       skill, perseverance and diligent advocacy;

               e.      The Action raised a number of complex issues;

               f.      Had Lead Counsel not achieved the Settlement there would remain a

       significant risk that Lead Plaintiffs and the other members of the Settlement Class may

       have recovered less or nothing from Defendants;

               g.      The amount of attorneys’ fees awarded and expenses to be paid from the

       Settlement Fund are fair and reasonable and consistent with awards in similar cases on a

       percentage basis and when considering a lodestar cross-check.

       6.      Lead Plaintiff Handelsbanken Fonder AB is hereby awarded $62,650.00 from the

Settlement Fund as reimbursement for its reasonable costs and expenses directly related to its

representation of the Settlement Class.

       7.      Lead Plaintiff Public Employees’ Retirement System of Mississippi is hereby

awarded $17,550.00 from the Settlement Fund as reimbursement for its reasonable costs and

expenses directly related to its representation of the Settlement Class.



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       8.      Louisiana Sheriffs’ Pension & Relief Fund is hereby awarded $3,400.00 from the

Settlement Fund as reimbursement for its reasonable costs and expenses directly related to its

representation of the Settlement Class.

       9.      Any appeal or any challenge affecting this Court’s approval regarding any

attorneys’ fees and expense application shall in no way disturb or affect the finality of the

Judgment.

       10.     Exclusive jurisdiction is hereby retained over the Parties and the Settlement Class

Members for all matters relating to this Action, including the administration, interpretation,

effectuation or enforcement of the Stipulation and this Order.

       11.     In the event that the Settlement is terminated or the Effective Date of the Settlement

otherwise fails to occur, this Order shall be rendered null and void to the extent provided by the

Stipulation.

       12.     There is no just reason for delay in the entry of this Order, and immediate entry by

the Clerk of the Court is expressly directed.

                        8th
       SO ORDERED this __               September ___ 2023.
                          _____ day of ___________



                                                ________________________________________
                                                      The Honorable Jennifer L. Rochon
                                                         United States District Judge




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